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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                              CHARLESTON DIVISION


 IN RE: AQUEOUS FILM-FORMING                            MDL No. 2:18-mn-2873-RMG
 FOAMS PRODUCTS LIABILITY
 LITIGATION
                                                     This Document Relates To All Actions


                     JOINT MOTION FOR ENTRY OF PROPOSED
                     SECOND AMENDED CASE MANAGEMENT 28

       Pursuant to DSC Local Civil Rule 7.01, Co-Lead Counsel for Plaintiffs and Defendants

respectfully move this Court to enter the attached proposed Second Amended CMO 28 regarding

personal injury cases that do not fall within CMO 26. The motion is based on the following

grounds:

       1.     On December 5, 2023, the Court ordered the Parties to jointly recommend a CMO

       regarding personal injury cases not addressed by the bellwether program governed by

       CMO-26 or, in the absence of an agreed proposal, for the PEC and DCC each to submit its

       own proposal. Dkt. 4149. The parties submitted a proposed CMO 28 by joint motion on

       March 8, 2024 (Dkt. 4639), and the Court entered CMO 28 on March 13, 2024 (Dkt. 4681).

       2.     Following entry of CMO 28, the Parties met and conferred regarding certain

       clarifications to the order, resulting in proposed amendments to CMO 28 that the Parties

       submitted to the Court on April 4, 2024 (Dkt. 4800). The Court entered Amended CMO

       28 on April 9, 2024 (Dkt. 4824).

       3.     Since the Court entered Amended CMO 28, Co-Lead Counsel have met and

       conferred regarding the attached additional amendments to CMO 28, which would further

       clarify CMO 28 in accordance with the Parties’ original intent and address certain matters



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       relating to cases that were pending transfer to the MDL as of April 24, 2024.

       WHEREFORE, the Parties respectfully request that the Court enter proposed Second

Amended Case Management Order 28, attached as Exhibit A.



Dated: May 14, 2024                             Respectfully submitted,

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